         Case 4:18-cv-00282-KGB Document 4 Filed 05/29/18 Page 1 of 33



                    IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF ARKANSAS
                              WESTERN DIVISION

TERESA BLOODMAN                                                                    PLAINTIFF

v.                            CASE NO. 4:18-cv-00282-KGB

ARKANSAS SUPREME COURT COMMITTEE
ON PROFESSIONAL CONDUCT (the “Committee”);
ROBERT STARK LIGON, Executive Director,
Arkansas Supreme Court Committee on
Professional Conduct; JAMES DUNHAM, as
Chair of the Committee; MICHAEL BOYD; T. BENTON
SMITH; TONYA PATRICK1; LISA C. BALLARD2;
KAROLYN JONES; MARK L. MARTIN3; DANYELLE
WALKER; and, TANYA R. OWEN4, as Members of
Panel A of the Arkansas Supreme Court Committee on
Professional Conduct; the HONORABLE KIM SMITH, in
his capacity as Special Judge; the HONORABLE JOHN
KEMP, as Chief Justice of the Supreme Court of Arkansas;
The HONORABLE ROBIN F. WYNNE5; the HONORABLE
COURTNEY HUDSON GOODSON; the HONORABLE
JOSEPHINE L. HART; the HONORABLE SHAWN A.
WOMACK; the HONORABLE KAREN BAKER; the
HONORABLE RHONDA K. WOOD6, as Associate
Justices of the Supreme Court of Arkansas                DEFENDANTS


1Defendant Tonya Patrick was a member of Panel C on March 21, 2016, but substituted for a Panel
A member who was not present.

2Defendant Lisa C. Ballard was not a member of Panel A at the time the Interim Order of
Suspension was imposed on March 21, 2016. Ballard was appointed effective January 1, 2018.

3Defendant Mark L. Martin was not a member of Panel A at the time the Interim Order of
Suspension was imposed on March 21, 2016. Martin was appointed effective January 1, 2017.

4Defendant Tanya R. Owen was not a member of Panel A at the time the Interim Order of
Suspension was imposed on March 21, 2016. Own was appointed effective January 1, 2018.

5Defendant Honorable Robin F. Wynne recused as an Associate Justice in the Arkansas Supreme
Court Disbarment case D-16-301 on May 27, 2016, prior to Plaintiff filing her Motion to Dismiss and
Response to the Disbarment Petition.

6Defendant Honorable Rhonda K. Wood recused as an Associate Justice in the Arkansas Supreme
Court Disbarment case D-16-301 on April 11, 2016, prior to Plaintiff filing her Motion to Dismiss and
Response to the Disbarment Petition.



                                                 1
        Case 4:18-cv-00282-KGB Document 4 Filed 05/29/18 Page 2 of 33



      BRIEF IN SUPPORT OF DEFENDANTS’ MOTION TO DISMISS

      Come now Defendants, Arkansas Supreme Court Committee on Professional

Conduct (the “Committee”); Robert Stark Ligon, Executive Director of the Arkansas

Supreme Court Committee on Professional Conduct, in his official and individual

capacity; James Dunham, as Chair of the Committee; Michael Boyd, T. Benton

Smith, Tonya Patrick, Lisa C. Ballard, Karolyn Jones, Mark L. Martin, Danyelle

Walker, and Tanya R. Owen, as members of Panel A of the Committee; the

Honorable Kim Smith, in his capacity as Special Judge; the Honorable John Kemp,

as Chief Justice of the Supreme Court of Arkansas; the Honorable Robin F. Wynne,

the Honorable Courtney Hudson Goodson, the Honorable Josephine L. Hart, the

Honorable Shawn A. Womack, the Honorable Karen Baker, the Honorable Rhonda

K. Wood, as Associate Justices of the Supreme Court of Arkansas; (hereinafter

collectively referred to as “Defendants”), by and through their attorneys, Attorney

General Leslie Rutledge, Deputy Attorney General Monty V. Baugh, and Assistant

Attorney General William C. Bird III, and for their Brief in Support of Defendants’

Motion to Dismiss, state the following:

                            STANDARD OF REVIEW

       When ruling on a motion to dismiss under Rule 12(b)(6) of the Federal Rules

of Civil Procedure, a district court accepts the allegations contained in the

complaint as true, and reasonable inferences from the complaint are drawn in

favor of the nonmoving party. Young v. City of St. Charles, 244 F.3d 623, 627 (8th

Cir. 2001). A motion to dismiss is properly granted when, based on the plaintiff’s




                                          2
       Case 4:18-cv-00282-KGB Document 4 Filed 05/29/18 Page 3 of 33



own allegations, it is plain that the defendant is entitled to judgment as a matter of

law. “Dismissal under Rule 12(b)(6) serves to eliminate actions which are fatally

flawed in their legal premises and designed to fail, thereby sparing litigants the

burden of unnecessary pretrial and trial activity.” Young, 244 F.3d at 627.

      “[T]he pleading standard Rule 8 announces does not require ‘detailed factual

allegations,’ but it demands more than unadorned, the-defendant-unlawfully-

harmed-me accusation.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell

Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007)).        “A pleading that offers

‘labels and conclusions’ or ‘a formulaic recitation of the elements of a cause of

action will not do.’”   Id.   “Nor does a complaint suffice if it tenders ‘naked

assertion[s]’ devoid of ‘further factual enhancement.’” Id. (Quoting Twombly, 550

U.S. at 557). To survive a motion to dismiss, a complaint must contain sufficient

factual matter, accepted as true, to “state a claim for relief that is plausible on its

face.” Id. (citing Twombly, 550 U.S. at 570). This pleading standard is satisfied if

the complaint’s “factual content . . . allows the court to draw the reasonable

inference that the defendant is liable for the misconduct alleged.”        Id.   (citing

Twombly, 550 U.S. at 556).        “A gallimaufry of labels, conclusions, formulaic

recitations, naked assertions and the like will not pass muster.” Christiansen v.

West Branch Community Sch. Dist., 674 F.3d 927, 934 (8th Cir. 2012) (citing

Twombly, 550 U.S. at 555-57).         “In keeping with these principles a court

considering a motion to dismiss can choose to begin by identifying pleadings that,




                                          3
           Case 4:18-cv-00282-KGB Document 4 Filed 05/29/18 Page 4 of 33



    because they are no more than conclusions, are not entitled to the assumption of

    truth.” Iqbal, 556 U.S. at 679.

         Defendants will show the Court herein that Plaintiff has not stated any facts

in her Complaint to support her claims for relief against these Defendants.

                               STATEMENT OF FACTS

         Plaintiff, Teresa Bloodman, is an attorney who brings this Complaint against

the Defendants for alleged violations of the Plaintiff’s rights under the United

States Constitution pursuant to 42 U.S.C. §§ 1981, 1983 and 1985 and the Fifth and

Fourteenth Amendments to the United States Constitution related to the interim

suspension of her Arkansas attorney’s license. Plaintiff has sued Defendants in

their official and individual capacities and seeks only injunctive relief. Specifically

and in relevant part, Plaintiff requests this Court invalidate the Order of Interim

Suspension dated March 21, 2016, and further requests the Court declare Sections

16 and 17 of the Procedures of the Arkansas Supreme Court Regulating the

Professional Conduct of Attorneys at Law (“Arkansas Procedures”) to be

unconstitutional (Complaint, pp. 36-37, Prayer for Relief).

         On March 18, 2016, Panel A of the Committee considered 10 cases against

the Plaintiff.7 After full consideration of the 10 cases, including consideration of

responsive affidavits filed by the Plaintiff, Panel A issued its Findings and Order on

7 The underlying cases giving rise to the Petition for Disbarment are CPC No. 2014-
053, CPC No. 2014-067, CPC No. 2015-013, CPC No. 2015-016, CPC No. 2015-020,
CPC No. 2015-029, CPC No. 2015-045, CPC No. 2015-088, CPC No. 2015-092, and
CPC No. 2015-108. Panel A dismissed CPC No. 2015-045 but unanimously voted to
refer Plaintiff to disbarment proceedings concerning the remaining nine cases.
Complaint, Ex. 1.



                                           4
        Case 4:18-cv-00282-KGB Document 4 Filed 05/29/18 Page 5 of 33



March 21, 2016, whereby it voted unanimously to refer Plaintiff to disbarment

proceedings on nine of the cases (excluding CPC No. 2015-045, which the Panel

dismissed) and directed Defendant Ligon to file a Petition for Disbarment if

Plaintiff failed to surrender her Arkansas law license. (Complaint, Ex. 1). The Order

of Interim Suspension contemporaneously was entered by the Committee on March

21, 2016. (Complaint, Ex. 2). The primary contention of Plaintiff’s Complaint is

that the Arkansas Procedures and the Defendants denied her due process because

she was not afforded a hearing prior to imposition of the interim suspension.

(Complaint ¶¶ 10, 92-115).

      Pursuant to the Committee’s Findings and Order, Defendant Ligon filed a

Petition for Disbarment (Supreme Court of Arkansas, D-16-301) against the

Plaintiff on April 1, 2016.8 Following the Committee’s denial of Plaintiff’s motion to

set aside the Order of Interim Suspension, Plaintiff filed a Petition for Writ of

Certiorari with the Supreme Court of Arkansas (CV-16-434) on May 17, 2016,

requesting the Court vacate the Order of Interim Suspension. (Complaint ¶ 35). The

Supreme Court denied Plaintiff’s Petition for Writ of Certiorari by Order dated

September 15, 2016 (Complaint ¶ 64, Ex. 3) and subsequently denied Plaintiff’s

Motion for Reconsideration by Order dated October 27, 2016 (Complaint ¶ 66, Ex.




8 An Amended Petition was filed on October 14, 2016, a Second Amended Petition
was filed on May 10, 2017, a Third Amended Petition was filed on August 21, 2017,
and a Fourth Amended Petition was filed on September 29, 2017. In total, the
Amended Petitions allege 176 separate violations of the Arkansas Rules of
Professional Conduct.




                                          5
           Case 4:18-cv-00282-KGB Document 4 Filed 05/29/18 Page 6 of 33



4).9 Plaintiff asserts that the Defendant Justices “conduct of violating Attorney

Bloodman’s right to procedural due process by not granting the petition for writ to

set aside the Committee’s order suspending the attorneys’ law license is volatile[sic]

of the U.S. Constitutions.” (Complaint ¶ 87).

         In addition to the allegations set forth above, Plaintiff further alleges: that

Defendants engaged in a civil conspiracy in violation of 42 U.S.C. § 1985(3) for the

“purpose of depriving directly or indirectly, Attorney Bloodman of equal protection

under the law to prevent Attorney Bloodman from practicing law in the State of

Arkansas.” (Complaint ¶¶ 196-206); that Defendants violated Plaintiff’s equal

protection rights “in that she has been afforded less favorable terms and conditions

of her employment as a state licensed attorney on the basis of her race (Complaint

¶¶ 116-195; and that the Arkansas Procedures “breeds conflict of interest” between

the Executive Director of the Office of Professional Conduct and the Arkansas

Supreme Court justices, denying attorneys the right to “fair and impartial relief.”

(Complaint ¶¶ 221-229).

         Defendants move to dismiss the Complaint on the grounds set forth below.

                                       ARGUMENT

I.       Sovereign Immunity Bars Suit Against All Defendants

          The United States Constitution, including the Eleventh Amendment,

    prohibits any suit in federal court against a state or a state agency unless the state



9Though Plaintiff fails to include this fact in her Complaint, Plaintiff also filed a
Petition for Writ of Certiorari with the United States Supreme Court, which was
denied on June 15, 2017. See Docket, CV-16-434.


                                             6
        Case 4:18-cv-00282-KGB Document 4 Filed 05/29/18 Page 7 of 33



has consented to suit or Congress has unambiguously abrogated the state’s

immunity. See Alden v. Maine, 527 U.S. 706 (1999). In addition, neither states

nor state officials acting in their official capacities are “persons” within the

meaning of 42 U.S.C. § 1983.      Will v. Mich. Dep’t of State Police, 491 U.S. 58, 65-

66 (1989). In Will, the United States Supreme Court reasoned that a state official

is in effect acting on behalf of the state and, therefore, is immune from liability

under the Eleventh Amendment.           Id. at 66.   The Court explained that “a suit

against a state official in his or her official capacity is not a suit against the official

but rather is a suit against the official’s office . . . As such, it is not different from a

suit against the state itself.” Id. at 71. See also Murphy v. State of Ark., 127 F.3d

750, 754 (8th Cir. 1997).

      Sovereign immunity deprives federal courts of jurisdiction over suits against

states and their agencies, boards, commissions and other “alter egos” of the state,

unless the state has waived its immunity or Congress has abrogated that immunity

pursuant to a valid exercise of Congressional power. See Seminole Tribe of Fla. v.

Fla., 517 U.S. 44, 54 (1996); Pennhurst State Sch. & Hosp. v. Halderman, 465 U.S.

89, 100 (1984). Even if the state is not named as a defendant, if a judgment for the

plaintiff will operate to control the action of the state or subject it to liability, the

suit must be treated as one against the state. Short v. Westark Cmty. Coll., 347

Ark. 497, 505, 65 S.W.3d 440 (2002). The State of Arkansas and its agencies and

officials have not consented to suit in federal court, see Burk v. Beene, 948 F.2d 489,




                                            7
        Case 4:18-cv-00282-KGB Document 4 Filed 05/29/18 Page 8 of 33



492-93 (8th Cir. 1991), and Congress did not abrogate the states’ sovereign

immunity when it enacted 42 U.S.C. § 1983. Will, 491 U.S. at 66-67.

      Here, all named Defendants are, by law, agencies and officials of the State of

Arkansas. Plaintiff seeks injunctive relief which, if granted, would operate to

control the action of the state. Consequently, this suit is an action against the State

of Arkansas that plainly is barred by sovereign immunity, and therefore, should be

dismissed with prejudice.

II.   Absolute Immunity Bars Suit Against All Defendants

      Any claims against the Defendants for performing their duties on behalf of

the Arkansas Supreme Court are barred by absolute immunity. The Supreme Court

has adopted a “functional” approach to questions of immunity. Harlow v. Fitzgerald,

457 U.S. 800, 810 (1982). “Absolute immunity flows not from rank or title or

‘location within the Government’ but from the nature of the responsibilities of the

individual official.” Cleavinger v. Saxner, 474 U.S. 193, 201 (1985) (quoting Butz v.

Economou, 438 U.S. 478, 511 (1978)). The Supreme Court recognizes that there is a

“need to protect officials who are required to exercise their discretion and the

related public interest in encouraging the vigorous exercise of official authority.”

Butz, 438 U.S. at 506.

      Defendant Ligon is the Executive Director of the Office of Professional

Conduct for the Supreme Court of Arkansas. The Defendant Committee members,

including the Committee Chair and the Panel A members are appointed by the

Supreme Court. The purpose of the Committee is to regulate “the professional




                                          8
        Case 4:18-cv-00282-KGB Document 4 Filed 05/29/18 Page 9 of 33



conduct of attorneys at law” licensed in the State of Arkansas. Arkansas

Procedures, Section 1. The Executive Director assists the Committee in fulfilling

this purpose and serves at the pleasure of the Arkansas Supreme Court. Arkansas

Procedures, Section 5(A). “It shall be the duty of the Office of Professional Conduct

to receive and investigate all complaints against any member of the Bar.” Arkansas

Procedures, Section 5(C) (emphasis added). Section 3(D) also provides that the

“Executive Director and employees and agents of the Committee are absolutely

immune from suit or action for their activities in discharge of their duties hereunder

to the full extent of judicial immunity in Arkansas.” The source of power to

establish the Committee on Professional Conduct is in Amendment 28 to the

Arkansas Constitution, which provides: “The Supreme Court shall make rules

regulating the practice of law and the professional conduct of attorneys at law.” See

Davenport v. Lee, 348 Ark. 148; 72 S.W.3d 85 (2002); see also Sexton v. Ark.

Supreme Ct. Comm. On Profess. Conduct, 299 Ark. 439, 445; 774 S.W.2d 114 (1989).

Therefore, the Committee is, in effect, an arm of the Arkansas Supreme Court, and

is entitled to absolute immunity.

      Plaintiff alleges that Defendants’ actions during the March 18, 2016, Panel A

meeting, specifically the imposition of the interim suspension, violated Plaintiff’s

rights. Such an allegation as to the Defendant Committee members is barred by

absolute immunity. See Myers v. Morris, 810 F.2d 1437 (8th Cir. 1987) (nonjudicial

persons performing quasi- judicial functions “intimately related to the judicial

process” are entitled to absolute immunity for claims arising from the performance




                                          9
        Case 4:18-cv-00282-KGB Document 4 Filed 05/29/18 Page 10 of 33



of assigned tasks). The Arkansas Supreme Court has bestowed absolute immunity

upon the Defendant Committee members for the discharge of their duties because it

is “essential for the conduct of public business” that these Defendants be protected

by absolute immunity in the performance of their responsibilities.

      The Defendant Justices likewise are entitled to absolute immunity. Judges

who are sued under § 1983 are immune from liability for damages for “judicial acts”

they perform, as long as they do not act in “absence of all jurisdiction.” Stump v.

Sparkman, 435 U.S. 349, 356-7 reh’g denied, 436 U.S. 951 (1978). In addition, in

Waller v. Wilson, 2007 WL 4510323 (W.D.Ark.), the court held, “Judicial immunity

is an immunity from suit, not just from ultimate assessment of damages...judges

performing judicial functions enjoy absolute immunity from [Section 1983 liability].”

In this case, Plaintiff’s allegations against the Defendant Justices are that the

“Arkansas Supreme Court justices’ conduct of violating Attorney Bloodman’s right

of procedural due process by not granting the petition for writ to set aside the

Committee’s order suspending the attorneys’ law license is volatile[sic] of the U.S.

Constitution.” (Complaint ¶ 87). Simply put, Plaintiff disagrees with the decision of

the Supreme Court and is attempting to obtain “appellate” review of that decision

with this Court. Because the allegations concern only the discretionary performance

of judicial functions, the Defendant Justices are entitled to absolute immunity and

the claims against them should be dismissed. Though Plaintiff fails to include this

fact in her Complaint, Plaintiff also filed a Petition for Writ of Certiorari with the




                                           10
          Case 4:18-cv-00282-KGB Document 4 Filed 05/29/18 Page 11 of 33



United States Supreme Court, which was denied on June 15, 2017. See Docket, CV-

16-434.

III.   Qualified Immunity Bars Suit Against All Defendants

       Although she has pled no facts which would give rise to individual liability,

Plaintiff nevertheless asserts that “each individual defendant…is sued in his official

and individual capacity.” (Complaint ¶ 12). Plaintiff’s claims against Defendants in

their individual capacities are barred by qualified immunity. Under the doctrine of

qualified immunity, a court must dismiss a complaint against a government official

in his individual capacity that fails to state a claim for violation of “clearly

established statutory or constitutional rights of which a reasonable person would

have known.” Harlow v. Fitzgerald, 457 U.S. 800, 818, 102 S.Ct. 2727, 73 L.Ed.2d

396 (1982). “Unless the plaintiff's allegations state a claim of violation of clearly

established law, a defendant pleading qualified immunity is entitled to dismissal

before the commencement of discovery.” Mitchell v. Forsyth, 472 U.S. 511, 526, 105

S.Ct. 2806 (1985). A court considers whether the plaintiff has stated a plausible

claim for violation of a constitutional or statutory right and whether the right was

clearly established at the time of the alleged infraction. Hager v. Arkansas Dep't of

Health, 735 F.3d 1009, 1013-14 (8th Cir. 2013). A right is clearly established when

the contours of the right are sufficiently clear so that a reasonable official would

understand that what he is doing violates that right. Anderson v. Creighton, 483

U.S. 635, 641, 107 S.Ct. 3034 (1987).




                                         11
       Case 4:18-cv-00282-KGB Document 4 Filed 05/29/18 Page 12 of 33



      According to the Complaint, Plaintiff alleges that Defendants denied her due

process by failing to permit her to participate in a public hearing prior to imposing

an interim suspension of her attorneys’ license pending the outcome of the

disbarment proceeding. (See Complaint ¶ 10). Plaintiff has no established right to

such a pre-suspension hearing.     Arkansas courts repeatedly have held that the

practice of law is a privilege, not a right. See Ligon v. Newman, 365 Ark. 510, 231

S.W.3d 662 (2006). In Stilley v. Supreme Court Comm. on Prof'l Conduct, 370 Ark.

294, 304–05, 259 S.W.3d 395, 401–02 (2007), the Arkansas Supreme Court affirmed

the Committee Panel’s 6-month suspension of an attorney license and found that an

attorney’s procedural due process rights were not violated where he: 1) received

notice of the complaint and charges against him, 2) was notified of the Panel’s

decision, 3) requested and received a public hearing, 4) attended the hearing, and 5)

was allowed to present evidence on his behalf. Here, Plaintiff Bloodman makes no

allegation that any of these procedural rights were withheld, and in fact, this very

lawsuit was filed during the pendency of Plaintiff’s public hearing.

      Plaintiff erroneously cites to Williams v. Martin ex rel. State, 2014 Ark. 210

(2014), for the proposition that due process demands the right to a pre-suspension

hearing. (Complaint ¶ 103). In fact, the Court in Williams held that immediate

suspension of an attorney license for failure to pay annual dues, “without advance

notice and without affording her any pre-suspension opportunity to be heard before

the suspension took effect,” constituted a denial of due process. Here, the Complaint

clearly establishes that Plaintiff had both advance notice and the opportunity to be




                                         12
       Case 4:18-cv-00282-KGB Document 4 Filed 05/29/18 Page 13 of 33



heard prior to the suspension taking effect. (See Complaint, Ex. 1, ¶ 4 [“The

Supplemental Affidavit of Respondent filed March 4, 2016, in four cases, along with

the response by the Office of Professional Conduct, was considered. Panel A finds

there was no ‘selective or discriminatory prosecution’ of Respondent by either the

Office of Professional Conduct or Director Ligon regarding these cases.”]).

      Plaintiff had no clearly established right to a pre-suspension hearing under

the law of this Circuit, and consequently, Defendants are entitled to qualified

immunity as to the individual capacity claims against them.

IV.   Plaintiff’s Complaint Is Barred By The Rooker-Feldman Doctrine.

      This Court lacks subject matter jurisdiction over Plaintiff’s claims under the

Rooker-Feldman doctrine. It is clear that the object of this suit is to obtain federal

district court “appellate” review of both the decision of the Committee to

temporarily suspend the attorney license of the Plaintiff and the Supreme Court’s

denial of Plaintiff’s Petition for Writ to set aside the interim suspension order.

Under the Rooker-Feldman doctrine, federal district courts lack subject matter

jurisdiction to hear such attempted appeals.

      “The Rooker-Feldman doctrine recognizes that, with the exception of habeas

corpus petitions, lower federal courts lack subject matter jurisdiction over

challenges to state court judgments.” Lemonds v. St. Louis County, 222 F.3d 488,

492 (8th Cir. 2000), cert. denied, 531 U.S. 1183 (2001) (citing District of Columbia

Court of Appeals v. Feldman, 460 U.S. 462, 476 (1983); Rooker v. Fidelity Trust Co.,

263 U.S. 413, 416 (1923)). Federal district courts are prohibited from exercising




                                         13
        Case 4:18-cv-00282-KGB Document 4 Filed 05/29/18 Page 14 of 33



jurisdiction over appeals from state court decisions and general federal law claims

that are “inextricably intertwined” with specific claims already adjudicated in state

court. Lemonds, 222 F.3d at 492-93. A general federal claim is inextricably

intertwined with a state court judgment “if the federal claim succeeds only to the

extent that the state court wrongly decided the issue before it.” Id. at 493 (citing

Pennzoil Co. v. Texaco, Inc., 481 U.S. 1, 25 (1987)). If the federal court can only

provide relief by determining that the state court was wrong, it is, in effect, an

appeal of the state court judgment that is prohibited by the Rooker-Feldman

doctrine. Lemonds, 222 F.3d at 492. Put another way, a claim is barred by the

Rooker-Feldman doctrine “if the requested federal relief would void the state court’s

judgment or amount to basically a reversal of the state court’s holding.” Ace Constr.

v. City of St. Louis, 263 F.3d 831, 833 (8th Cir. 2001) (citing Pennzoil Co. v. Texaco,

Inc., 481 U.S. 1, 25, (1987) (Marshall, J., concurring)).

      The Rooker-Feldman doctrine applies to attempted appeals of both “final”

state court orders and state court orders that are “interlocutory” or otherwise not

“final.” See In Re Goetzman, 91 F.3d 1173 (8th Cir. 1996), cert. denied, 117 S.Ct.

612 (1996). “Application of the Rooker-Feldman doctrine does not depend on a final

judgment on the merits of an issue . . . nor is there a procedural due process

exception to the doctrine. If the state trial court erred in the extent it addressed the

issue the [plaintiffs] are now pressing, relief was available in the appellate courts of

[the state]. None being forthcoming, the plaintiffs cannot now bring an action in




                                           14
       Case 4:18-cv-00282-KGB Document 4 Filed 05/29/18 Page 15 of 33



federal court which would effectively reverse the state court decision or void its

ruling.” Goetzman, 91 F.3d at 1178 (internal citations omitted)).

      While the Committee’s decision to interimly suspend Plaintiff is not a

judgment of a state trial court, the Rooker-Feldman doctrine nonetheless applies

because the Committee’s action in suspending Plaintiff was “fundamentally judicial

in nature.” See Partin v. Arkansas State Bd. of Law Exam’rs, 863 F.Supp. 924, 926

(E.D. Ark. 1994) (citing Thomas v. Kadish, 748 F.2d 276, 281 (5th Cir. 1984)). In

Partin the district court noted, correctly, that Rooker-Feldman applies to attempted

appeals to federal district court of state agency decisions when the agency exercised

“authority on behalf of the Supreme Court pursuant to that Court’s rules,

standards, and regulations.”    Id.   See also Middlesex County Ethics Comm. v.

Garden State Board Ass’n, 457 U.S. 423, 433-34 (1982).

       In Mosby v. Ligon, 418 F.3d 927 (8th Cir. 2005), the Eighth Circuit affirmed

the district court’s determination that the Rooker-Feldman doctrine (and the

Younger abstention doctrine) barred plaintiff’s suit concerning disciplinary actions

taken against her by the Committee and Supreme Court. Like the instant case,

the plaintiff in Mosby challenged the Arkansas procedures both facially and as

applied to her. The Court specifically held:

      [W]e agree with the district court that it lacked subject matter
      jurisdiction over Mosby's claims. That portion of her complaint that
      seeks a declaration concerning the Committee's disciplinary
      proceedings against her constitutes a challenge to the result of a state
      judicial proceeding, and the Rooker–Feldman doctrine bars its
      consideration in the district court. To the extent that her complaint
      states only a facial challenge to the Rules, or a declaration with respect
      to past disciplinary actions involving other attorneys, Mosby lacks



                                         15
        Case 4:18-cv-00282-KGB Document 4 Filed 05/29/18 Page 16 of 33



       standing because she has failed to allege an Article III case or
       controversy.

Id. at 934.

       The Rooker-Feldman doctrine clearly applies in this case. The Committee’s

placement of Plaintiff on interim suspension was fundamentally judicial in nature—

it required the Committee to apply the existing rules (Rules 1.2, 1.3, 1.4, and 8.4 of

Arkansas Rules of Professional Conduct as adopted by the Arkansas Supreme

Court) to an existing factual record and to determine whether or not those facts

constituted a violation of the rules. There is no question that the Committee is but

an extension of the judicial branch of Arkansas’ government. ARK. CONST. amend.

28. See also Neal v. Wilson, 316 Ark. 588, 873 S.W.2d 552 (1994). The Arkansas

Supreme Court adopted the Model Rules of Professional Conduct, promulgated the

Committee’s Rules of Procedure, and appoints all of the Committee’s members. See

In the Matter of the Arkansas Bar Association: Petition for the Adoption of Model

Rules of Professional Conduct, 287 Ark. Appx. 495, 702 S.W.2d 326 (1985) (per

curiam) (adopting rules of professional conduct); In Re Procedures of the Arkansas

Supreme Court Regulating Professional Conduct of Attorneys at Law, 331 Ark.

Appx. 537, 963 S.W.2d 562 (1998) (per curiam) (approval and adoption of the

revised “Procedures of the Arkansas Supreme Court Regulating Professional

Conduct of Attorneys at Law”).         Furthermore, the Committee’s decisions are

subject to review by the Arkansas Supreme Court. Arkansas Procedures, Section 12.

Thus, based on the Rooker-Feldman doctrine, this Court lacks subject matter

jurisdiction on Plaintiff’s claims.



                                         16
        Case 4:18-cv-00282-KGB Document 4 Filed 05/29/18 Page 17 of 33



V.    Plaintiff’s Complaint Is Barred By The Doctrines Of Abstention.

      a.      Younger Abstention

      Plaintiff’s Complaint is also barred by the principles of abstention set forth by

the United States Supreme Court in Younger v. Harris and subsequent cases, by

the abstention doctrine enunciated in the Colorado River case and its progeny, and

by the Pullman abstention doctrine.10 This doctrine embodies principles of “equity,

comity, and federalism that must restrain a federal court when asked to enjoin a

state court proceeding.” Mitchum v. Foster, 407 U.S. 225, 243 (1972). Under

Younger v. Harris, a federal court is forbidden from granting relief against a

pending state civil proceeding that implicates important state interests. Alleghany

Corporation v. Pomeroy, 898 F.2d 1314, 1316 (8th Cir. 1990) (district court’s refusal

to abstain under Younger reversed where plaintiff brought claims in federal court

instead of in state proceedings).

      While    Younger     itself   involved    pending   criminal   proceedings,   the

Younger doctrine was subsequently extended to also apply when there is a pending

state civil or administrative proceeding that implicates important state interests.

See Ohio Civil Rights Comm’n v. Dayton Christian Schools, Inc., 477 U.S. 619, 627

(1986); Alleghany Corp. v. Pomeroy, 898 F.2d 1314, 1316 (8th Cir. 1990); see also

Middlesex County Ethics Comm. v. Garden State Bar Ass’n, supra, 457 U.S. 423,



10
  Courts previously have dismissed claims under the Younger abstention doctrine
where Arkansas attorneys raised due process challenges against the Arkansas
Supreme Court Committee on Professional Conduct in relation to disbarment and
suspension proceedings. See Plouffe v. Ligon, 606 F.3d 890, 893–94 (8th Cir. 2010);
McCullough v. Ligon, Case No. 4:05-CV-693 (E.D.Ark), DE 35 filed Dec. 23, 2005.


                                           17
       Case 4:18-cv-00282-KGB Document 4 Filed 05/29/18 Page 18 of 33



432 (federal courts should abstain under Younger from interfering with ongoing

state attorney disciplinary proceedings); Partin v. Arkansas State Bd. of Law

Exam’rs, 863 F.Supp. 924, 926 (E.D. Ark. 1994), aff’d 56 F.3d 69 (8th Cir. 1995));

Pincham v. Illinois Judicial Inquiry Bd., 681 F.Supp. 1309 (N.D. Ill. 1988) (applying

Younger to federal civil rights claim brought by a state court judge).

      The application of Younger to this case is compelled by Middlesex County

Ethics Committee v. Garden State Bar Association, supra, where the plaintiff

brought a federal lawsuit challenging the constitutionality of disciplinary rules that

a state’s Ethics Committee had charged the plaintiff with violating. See Middlesex,

457 U.S. at 428-29. In Middlesex, the Supreme Court found that the district court

was correct is dismissing the plaintiff’s case based upon Younger and its progeny.

Id. at 425. The Court stated that “[t]he State’s interest in the professional conduct

of attorneys involved in the administration of criminal justice is of special

importance. The importance of the state interest in the pending state judicial

proceedings and in the federal case calls Younger abstention into play.” Id. at 434-

35.

      Further, in Plouffe v. Ligon, 606 F.3d 890, 893–94 (8th Cir. 2010), under

similar allegations, the Eighth Circuit affirmed this Court’s finding that Younger

compelled dismissal of a plaintiff’s federal lawsuit to enjoin ongoing state

disciplinary proceedings. With regard to the second and third elements of the

Younger analysis, the Court found that: state disciplinary proceedings implicate

important state interests, and that the plaintiff’s constitutional claims could be




                                          18
       Case 4:18-cv-00282-KGB Document 4 Filed 05/29/18 Page 19 of 33



raised in the disciplinary proceeding. Id. (“We can find nothing in the rules

governing the attorney disciplinary proceedings that would prevent [plaintiff] from

raising his constitutional claims. Furthermore, we have previously found that the

Arkansas Supreme Court adequately considers constitutional claims raised during

attorney disciplinary proceedings”) (internal citations omitted).

      In the present case, state proceedings concerning the Plaintiff are ongoing.

(See Supreme Court of Arkansas, D-16-301). The trial of the underlying disbarment

matter began on April 30, 2018, but was continued after the filing of this lawsuit

that same day. The disbarment trial resumed on May 14, 2018, but again was

continued upon Plaintiff’s filing of a Notice of Removal (18-CV-325) of the

disbarment action to federal court on the morning of May 15, 2018. The parties

await the federal court’s ruling on a pending Motion to Remand, and under these

circumstances, the state proceeding is ongoing for purposes of Younger abstention.

See Alleghany, supra. In Alleghany, the Eighth Circuit Court of Appeals found that:

      In Huffman v. Pursue, Ltd., 420 U.S. 592 (1975), “the Supreme Court
      held that the district court should have abstained under Younger even
      though [the plaintiff] had chosen to initiate an action in federal court
      rather than appeal to a state court. The court concluded that ‘a
      necessary concomitant of Younger is that a party . . . must exhaust his
      state appellate remedies before seeking relief in the District Court,
      unless he can bring himself within one of the exceptions specified in
      Younger.’ Since Huffman, courts have consistently held that a party
      cannot avoid Younger by choosing not to pursue available state
      appellate remedies. Id. at 1143-44 (internal citations omitted) (citing to
      the United States Supreme Court’s decision in Pennzoil Co. v. Texaco,
      481 U.S. 1, 16-17 (1987); Huffman v. Pursue, Ltd., 420 U.S. 592
      (1975)).

      The Committee’s proceeding involving Plaintiff implicates the State of




                                          19
        Case 4:18-cv-00282-KGB Document 4 Filed 05/29/18 Page 20 of 33



Arkansas’ important interest in maintaining the integrity of its legal community

and ensuring that its attorneys conform to appropriate standards of professional

conduct. Furthermore, Plaintiff has the opportunity to raise any and all

constitutional arguments or claims before the Committee itself, and likewise has

the opportunity to fully raise any and all of her constitutional claims on appeal to

the Arkansas Supreme Court. Neal v. Wilson, 316 Ark. 588, 873 S.W.2d 552 (1994)

(finding that because disbarred attorney had the opportunity to raise his federal

claims during the state proceedings, Younger abstention was appropriate). Thus,

because Plaintiff’s claims involve ongoing state proceedings that implicate

important state interests, and because Plaintiff has an available state-court forum

to present her constitutional claims, all of the requisites for Younger abstention are

satisfied.

       b.    Colorado River Abstention

       Similarly, dismissal of the present action is also appropriate under the

abstention principles enunciated in Colorado River Water Conservation Dist. v.

United States, 424 U.S. 800 (1976). There, the Supreme Court held that federal

courts could abstain from exercising federal jurisdiction when a parallel state action

is pending. Colorado River-type abstention is justified to conserve judicial resources

and preserve a single comprehensive disposition of the litigation.     Id. at 817-19.

See Wolfson v. Mutual Benefit Life Insurance Company, 51 F.3d 141(8th Cir. 1995)

(abstention appropriate where claims were subject of pending state proceeding);

United States Fidelity and Guaranty Company v. Murphy Oil USA, Inc., 21 F.3d




                                         20
       Case 4:18-cv-00282-KGB Document 4 Filed 05/29/18 Page 21 of 33



259 (8th Cir. 1994) (abstention appropriate where claims were subject of pending

state proceeding). Here, a Petition for Disbarment currently is pending against her

in the Arkansas Supreme Court, another forum in which she can raise her

constitutional claims.

      c.     Pullman Abstention

      Even if abstention were not appropriate under Younger or Colorado River,

the Court should nonetheless abstain because this case involves federal issues that

might be impacted or rendered unnecessary by “a controlling decision of a

state court.” See Railroad Comm’n of Texas v. Pullman, Co., 312 U.S. 496, 500

(1941). Under the Pullman abstention doctrine, a federal court should abstain from

ruling in a case that presents federal constitutional issues that might be mooted or

presented in a different posture by a state court determination of pertinent state

law. By abstaining from a case that involves unanswered questions of state law or a

state’s construction of its laws and regulations, federal courts recognize the vital

interests underlying the preservation of the doctrines on comity and federalism. See

Alleghany Corp. v. McCartney, supra. Pullman abstention has been consistently

applied in a variety of contexts, including cases involving claimed violations of

civil rights. See Babbitt v. United Farm Workers Nat’l Union, 442 U.S. 289 (1979)

(holding in part that the federal court should have abstained from adjudicating

unresolved questions of state law).

      Certain factors must be addressed when a federal court is presented with a

case that involves Pullman-type abstention. In a 1998 case, the Eighth Circuit




                                        21
       Case 4:18-cv-00282-KGB Document 4 Filed 05/29/18 Page 22 of 33



Court of Appeals reiterated the proper Pullman analysis:

      Pullman abstention requires consideration of (1) the effect abstention
      would have on the rights to be protected by considering the nature of
      both the right and necessary remedy; (2) available state remedies; (3)
      whether the challenged state law is unclear; (4) whether the
      challenged state law is fairly susceptible to an interpretation that
      would avoid any federal constitutional question; and (5) whether
      abstention will avoid unnecessary federal interference in state
      operations. Beavers v. Arkansas State Bd. of Dental Exam’rs, 151 F.3d
      838, 841 (8th Cir. 1998) (citing George v. Parratt, 602 F.2d 818, 820-22
      (8th Cir. 1979)).

      Putting the Pullman-doctrine into context, the Supreme Court stated:

      The paradigm case for abstention arises when the challenged state
      statute is susceptible of a construction by the state courts that would
      avoid or modify the [federal] constitutional question. . . . More fully, we
      have explained: Where resolution of the federal constitutional question
      is dependent upon, or may be materially altered by, the determination
      of an uncertain issue of state law, abstention may be proper in order to
      avoid unnecessary friction in federal-state relations, interference with
      important state functions, tentative decisions on questions of state law,
      and premature constitutional adjudication. Beavers, 151 F.3d at 841
      (internal quotes omitted) (quoting Lake Carriers’ Assoc. v. MacMullan,
      406 U.S. 498, 510-11 (1972)).

      In Beavers, the Eighth Circuit Court of Appeals affirmed a district court’s

decision to abstain from a suit that presented First Amendment, Fourteenth

Amendment, and 42 U.S.C. § 1983 challenges to certain rules and regulations

promulgated by the Arkansas State Board of Dental Examiners. Appellant claimed

that the State Board’s rules and regulations were facially overbroad and restricted

his free speech. The district court based its decision to abstain on the fact that

“Arkansas state courts could rule on state statutory grounds and avoid the First

Amendment question entirely.” Beavers, 151 F.3d at 840. The Eighth Circuit found

that the district court had not abused its discretion in deciding to abstain and that



                                          22
        Case 4:18-cv-00282-KGB Document 4 Filed 05/29/18 Page 23 of 33



the district court was correct in its determination that the federal constitutional

questions could be avoided and that Beavers had an adequate state remedy. Id. at

841.

       When viewed in light of the factors articulated in Beavers, Pullman-type

abstention should be applied in this case in recognition of the crucial concerns of

comity and federalism. This federal action is based upon a question of state law

involving the interpretation and application of the Procedures of the Arkansas

Supreme Court Regulating Professional Conduct of Attorneys at Law.       In view of

the first Pullman factor, the Court must address the effect abstention may have on

the right and the necessary remedy. Plaintiff’s allegations include the argument

that the Rules of Professional Conduct are unconstitutional because they fail to

provide procedural due process and because of alleged conflicts of interest created

by the hierarchical structure between the Supreme Court of Arkansas and the

Executive Director of the Committee. Thus, before the constitutional issues can be

addressed, the state law question must be answered. The application and

interpretation of the Rules of Professional Conduct are questions of state law;

Plaintiff had the opportunity to make her arguments and can present those

arguments to the special judge appointed by the Arkansas Supreme Court in

connection with his disbarment proceedings. Finally, Plaintiff can present any of

her arguments directly to the Arkansas Supreme Court. A ruling as to the

application and interpretation of the Rules may, in fact, moot all of Plaintiff’s

constitutional arguments.




                                        23
       Case 4:18-cv-00282-KGB Document 4 Filed 05/29/18 Page 24 of 33



      In regard to the second factor, Plaintiff clearly has an adequate state remedy.

The Procedures of the Committee provide that in an action for disbarment, which is

to be filed as an original action with the Clerk of the Supreme Court, the Court

shall assign a special judge to preside over the disbarment proceedings. See Section

13 of the Arkansas Procedures. During the disbarment proceedings, the plaintiff

may present any and all arguments including the constitutional challenges made in

the present suit. In the event of a finding of misconduct, the judge then hears all

evidence relevant to an appropriate sanction to be imposed. Id. The special judge

then makes findings of fact and conclusions of law and makes a recommendation as

to the appropriate sanction. Id. Thereafter, the parties file briefs as in other cases,

in which the plaintiff can raise her constitutional challenges. See Plouffe v. Ligon,

supra; see also Wilson v. Neal, 332 Ark. 148, 964 S.W.2d 199 (1998). Furthermore, if

Plaintiff is dissatisfied with the Arkansas Supreme Court’s decision, she may apply

directly to the United States Supreme Court for certiorari.

      The third factor looks at the clarity of the state law in question. In her

Complaint, Plaintiff alleges that the Defendants’ actions deprived her of due process

and equal protection rights, among others. Even if Plaintiff’s allegations were true,

the Rules of Professional Conduct should be interpreted by the state courts to

ascertain their meaning and to determine whether the actions or inactions of

Defendants were outside the scope of the authority provided currently by the Rules.

Although the initial interpretation and application of the Rules is the duty and

responsibility of the Committee, the Arkansas Supreme Court reviews the




                                          24
       Case 4:18-cv-00282-KGB Document 4 Filed 05/29/18 Page 25 of 33



Committee’s decisions, if appealed, including addressing any and all state and

federal constitutional issues. Furthermore, the Arkansas Supreme Court is the body

that has adopted the Arkansas Rules of Professional Conduct and further adopted

the Arkansas Procedures. Consequently, the Arkansas Supreme Court is entitled to

review the interpretation and application of the Arkansas Procedures. The

Committee and the Arkansas Supreme Court should be given the opportunity to

address the interpretation and application of these Rules, important issues of state

law, and, if needed, to address the constitutional issues that Plaintiff has raised.

See Plouffe, supra (“we have previously found that the Arkansas Supreme Court

adequately considers constitutional claims raised during attorney disciplinary

proceedings”).

      The last factor, and arguably the most important in regards to abstention, is

whether abstention will avoid federal interference with state operations. It is clear

that a state action is currently pending and that Plaintiff can seek review of the

findings and recommendations of the special judge and then before the Arkansas

Supreme Court. During the disbarment proceedings, Plaintiff may raise any and all

arguments, including constitutional arguments, if she desires. Furthermore, if

Plaintiff is dissatisfied with a ruling from the Arkansas Supreme Court, she can file

a petition for writ of certiorari in the United States Supreme Court. See Rule 19 of

the Rules of the Supreme Court of the United States.        Accordingly, this Court

should abstain pursuant to the Younger, Colorado River, and Pullman abstention

doctrines.




                                         25
       Case 4:18-cv-00282-KGB Document 4 Filed 05/29/18 Page 26 of 33



VI.   Plaintiff’s Constitutional Claims for Prospective Injunctive Relief
      Should Be Dismissed for Lack of Article III Standing

      As set forth above, to the extent Plaintiff alleges constitutional claims

attacking the Arkansas Procedures both facially and as applied, such claims are

barred for lack of federal jurisdiction under the Rooker-Feldman doctrine and

Younger, Colorado River, and Pullman abstention doctrines.

      Plaintiff also lacks standing to bring her constitutional claims seeking

prospective injunctive relief.   (Complaint ¶ 86). Article III of the United States

Constitution confines the jurisdiction of federal courts to justiciable cases and

controversies. U.S. Const. art. III, § 2; Lujan v. Defenders of Wildlife, 504 U.S. 555,

559–60, 112 S.Ct. 2130, 119 L.Ed.2d 351 (1992). Such cases and controversies

include only those claims that allege some “injury in fact” redressable by a favorable

judgment. Elk Grove Unified Sch. Dist. v. Newdow, 542 U.S. 1, 124 S.Ct. 2301,

2308, 159 L.Ed.2d 98 (2004). To satisfy this “injury in fact” requirement, a plaintiff

seeking prospective relief against future conduct of defendants who caused injury in

the past must show that she faces “a real and immediate threat that she would

again suffer similar injury in the future.” Park v. Forest Serv. of the United States,

205 F.3d 1034, 1037 (8th Cir.2000) (internal quotations and brackets omitted); see

O'Shea v. Littleton, 414 U.S. 488, 496, 94 S.Ct. 669, 38 L.Ed.2d 674 (1974). In

addition to satisfying Article III standing requirements, litigants must stay within

“prudential limitations” on the exercise of federal-court jurisdiction. Warth v.

Seldin, 422 U.S. 490, 498, 95 S.Ct. 2197, 45 L.Ed.2d 343 (1975). One such limitation

is a rule that parties “generally must assert [their] own legal rights and interests,



                                          26
        Case 4:18-cv-00282-KGB Document 4 Filed 05/29/18 Page 27 of 33



and cannot rest [their] claim to relief on the legal rights or interests of third

parties.” Id. at 499, 95 S.Ct. 2197.

      In Mosby, supra, the Court held that the Plaintiff lacked standing to seek

prospective injunctive relief against future actions of the Committee because her

complaint did not sufficiently allege a “real and immediate threat of repeated

injury.” Id. at 933. The Court found:

      The record here does not demonstrate that Mosby is likely to suffer
      from alleged discrimination by Ligon or the Justices of the Arkansas
      Supreme Court in the future. Her only likely opportunity for
      interactions with Ligon or the Committee in the future would be in the
      case of another alleged violation of the Rules. We deem apropos the
      Supreme Court's observation in O'Shea, that “attempting to anticipate
      whether and when respondents will be charged with crime ... takes us
      into the area of speculation and conjecture,” 414 U.S. at 497, 94 S.Ct.
      669, because we have the same inability to foresee whether Mosby will
      face future disciplinary proceedings. The speculative nature of making
      this prediction leads us to conclude that the record does not establish a
      real or immediate threat of repeated injury. Mosby thus lacks standing
      to pursue the injunctive relief that she seeks.

 Id. at 933-34.

      Similarly, the Plaintiff here does not demonstrate the likelihood of alleged

future discrimination by the Defendants. In fact, because Plaintiff faces disbarment

(whereas the Plaintiff in Mosby received only a written caution and fine), the

likelihood of future injury to her is practically non-existent.11 With regard to alleged

harm to third parties, Plaintiff alleges that “there is a threat of real and immediate

harm that defendants will violate other state licensed attorneys prior to affording a


11 In paragraph 85 of the Complaint, Plaintiff asserts that “Attorney Bloodman is
in immediate danger and harm of disbarment.” To be clear, the Complaint seeks
injunctive relief ONLY as to the interim suspension of her attorney license; not
against the ongoing disbarment proceeding.


                                          27
        Case 4:18-cv-00282-KGB Document 4 Filed 05/29/18 Page 28 of 33



hearing.” (Complaint ¶ 85). Plaintiff fails to allege, however, that such speculative

discipline imposed on other attorneys would cause herself to suffer an injury-in-fact

that would satisfy the Article III standing requirement. See Mosby, 418 F.3d at 934.

(“Mosby attempts to ‘rest [her] claim to relief on the legal rights or interests of third

parties,’ and we conclude that she cannot overcome the prudential limitation on the

exercise of federal jurisdiction. Mosby plainly does not fit within the limited

exception to the prudential proscription against asserting the rights of third parties,

for she presents no evidence of a ‘close’ relationship with these attorneys or a

‘hindrance’ to the attorneys’ ability to protect their own interests”). (internal

citations omitted).

       Consequently, Plaintiff lacks standing to pursue prospective injunctive relief

and such claims should be dismissed.

VII.   Plaintiff’s Fails To State a Claim that Due Process Rights under the
       Fifth and Fourteenth Amendments Were Violated and Such Claim
       Must Be Dismissed

       The primary contention of Plaintiff’s Complaint is that the Defendants and

the Arkansas Procedures denied her due process by failing to provide a pre-

suspension hearing. (Complaint ¶¶ 92-115, 207-220). Because due process does not

require such a hearing (see discussion in Section III, pp. 10-12, supra), Plaintiff’s

Complaint fails to set forth a claim upon which relief can be granted, and Plaintiff’s

Complaint should be dismissed.




                                           28
        Case 4:18-cv-00282-KGB Document 4 Filed 05/29/18 Page 29 of 33



VIII. Plaintiff’s Fails To State a Claim that Her Rights to Equal Protection
      under the Fourteenth Amendment Were Violated and Such Claim
      Must Be Dismissed

      Should this Court find it has jurisdiction over the Plaintiff’s constitutional

claims, the Court nevertheless should dismiss such claims under Rule 12(b)(6) for

failure to state a claim upon which relief can be granted. Plaintiff alleges that her

right to equal protection under the United States Constitution has been violated

because “in that she has been afforded less favorable terms and conditions of her

employment as a state licensed attorney on the basis of her race (Complaint ¶¶ 116-

195). Equal protection analysis turns on the classification designated in the statute

or by the governmental decision being challenged. “To state an equal protection

claim, [Plaintiff] must . . . [establish] that he was treated differently from others

similarly situated to him. Johnson v. City of Minneapolis, 152 F.3d 859, 862 (8th Cir.

1998). Plaintiff has failed to provide any factual foundation for her allegation that

she was denied equal protection of the law. “To be similarly situated for purposes of

a class-of-one equal-protection claim, the persons alleged to have been treated more

favorably must be identical or directly comparable to the plaintiff in all material

respects.” Robbins v. Becker, 794 F.3d 988, 996 (8th Cir. 2015) (citing Reget v. City

of La Crosse, 595 F.3d 691, 695 (7th Cir.2010); accord Bills v. Dahm, 32 F.3d 333,

335 (8th Cir.1994) (explaining equal protection comparators must be similarly

situated “in all relevant respects”)). “A class-of-one plaintiff must therefore ‘provide

a specific and detailed account of the nature of the preferred treatment of the

favored class,’ especially when the state actors exercise broad discretion to balance a




                                          29
       Case 4:18-cv-00282-KGB Document 4 Filed 05/29/18 Page 30 of 33



number of legitimate considerations.” Nolan v. Thompson, 521 F.3d 983, 990 (8th

Cir.2008) (quoting Jennings v. City of Stillwater, 383 F.3d 1199, 1214 (10th

Cir.2004)).

      Beyond mere conclusory statements, Plaintiff cites no facts to support the

contention that she was treated differently from other attorneys similarly situated.

Plaintiff mentions other Arkansas attorneys whom she alleges were treated

differently but pleads no facts, beyond a single conclusory statement (Complaint ¶

193), that any such attorneys were similarly situated to the Plaintiff. Plaintiff fails

to assert any facts which make even a prima facie showing that the she is similarly

situated to the comparators with respect to the nature of the alleged disciplinary

violations or any other relevant factors. Plaintiff has failed to state an equal

protection claim upon which relief can be granted and pursuant to Rule 12(b)(6),

Plaintiff’s claim should be dismissed.

VIII. Plaintiff Fails to State a Claim for Civil Conspiracy under 42 U.S.C. §
      1985(3) and Such Claim Must Be Dismissed

      In order to prove the existence of a civil rights conspiracy under § 1985(3), a

plaintiff must prove that: (1) the defendants did conspire; (2) such conspiracy was

for the purpose of depriving, either directly or indirectly, any person or class of

persons of equal protection of the laws, or equal privileges and immunities under

the laws; (3) one or more of the conspirators did, or caused to be done, any act in

furtherance of the object of the conspiracy; and (4) another person was injured in his

person or property or deprived of having and exercising any right or privilege of a




                                          30
          Case 4:18-cv-00282-KGB Document 4 Filed 05/29/18 Page 31 of 33



citizen in the United States. Larson v. Miller, 76 F.3d 1446, 1454 (8th Cir.1996) (en

banc).

         Plaintiff must “allege with particularity and specifically demonstrate with

material facts that the defendants reached an agreement.” See Davis v. Jefferson

Hosp. Ass'n, 685 F.3d 675, 685 (8th Cir. 2012) (quoting City of Omaha Emps.

Betterment Ass'n v. City of Omaha, 883 F.2d 650, 652 (8th Cir. 1989)). Mere

speculation or conjecture is insufficient to prove a civil conspiracy. Mettler v.

Whitledge, 165 F.3d 1197, 1206 (8th Cir. 1999). Under § 1983, a plaintiff must

establish that the private actor willfully participated with state officials and

reached a mutual understanding concerning the unlawful objective of a conspiracy.

Moody v. Arkansas State Highway & Transp. Dep't, No. 4:12CV00312 JLH, 2013

WL 1367339, at *8 (E.D. Ark. Apr. 4, 2013), aff'd sub nom. Moody v. Vozel, 771 F.3d

1093 (8th Cir. 2014)

         It is important to note that because there was no constitutional violation

there can be no conspiracy. See Askew v. Millerd, 191 F.3d 953, 957–59 (8th Cir.

1999) (“At the outset, because there was no constitutional violation, this claim

necessarily fails”). But even assuming Plaintiff alleged a valid constitutional claim,

Plaintiff fails to allege that Defendants reached an agreement or understanding to

violate her equal protection rights. Plaintiff merely asserts, in conclusory and

speculative terms, that “Defendants conspired among themselves and with others

for the purpose of depriving directly or indirectly, Attorney Bloodman of equal

protections under the law to prevent [her] from practicing law…” (Complaint ¶ 197).




                                          31
        Case 4:18-cv-00282-KGB Document 4 Filed 05/29/18 Page 32 of 33



Plaintiff fails to allege any facts sufficient to satisfy set forth a prima facie case of

civil conspiracy and such claim therefore should be dismissed.

                                   CONCLUSION

      From the face of Plaintiff’s Complaint, it is clear she cannot prove any set of

facts entitling her to relief in this case. For all the reasons set forth herein,

Plaintiff’s Complaint should be dismissed.

      WHEREFORE, Defendants respectfully request that the Court grant their

Motion to Dismiss and for any and all other relief to which they are entitled.

                                                Respectfully submitted,

                                                LESLIE RUTLEDGE
                                                Attorney General

                                         By:    /s/ William C. Bird III
                                                William C. Bird III
                                                Ark Bar No. 2005149
                                                Assistant Attorney General
                                                Ark. Attorney General's Office
                                                323 Center Street, Suite 200
                                                Little Rock, AR 72201
                                                Phone: (501) 682-1317
                                                Fax: (501) 682-2591
                                                william.bird@arkansasAG.gov

                                                Monty V. Baugh
                                                Ark. Bar No. 2008138
                                                Deputy Attorney General
                                                Ark. Attorney General's Office
                                                323 Center Street, Suite 200
                                                Little Rock, AR 72201
                                                Phone: (501) 682-1681
                                                Fax: (501) 682-2591
                                                monty.vaugh@arkansasAG.gov

                                                Attorneys for Plaintiff




                                           32
       Case 4:18-cv-00282-KGB Document 4 Filed 05/29/18 Page 33 of 33



                          CERTIFICATE OF SERVICE

       I, William C. Bird III, Assistant Attorney General, hereby certify that on May
29, 2018, I electronically filed the foregoing with the Clerk of Court using the
CM/ECF system, which shall send notification of such filing to any CM/ECF
participants.

                                       /s/ William C. Bird III




                                         33
